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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                          CASE NO. 1:02-cr-00043-MP -GRJ

FREDDIE LEE MURPHY,

       Defendant.

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                                           ORDER

       This matter is before the Court on Doc. 565, Motion Requesting Copies by the United

States of America. The government requests copies of all exhibits offered into evidence during

the Violation of Supervised Release hearing on May 3, 2011. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       1.      The Clerk is directed to provide the government copies of all exhibits offered into
               evidence during the hearing on May 3, 2011.

       DONE AND ORDERED this            23rd day of May, 2011


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
